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             In the United States Court of Federal Claims
                                        Filed: March 2, 2018


      IN RE DOWNSTREAM ADDICKS
      AND BARKER (TEXAS) FLOOD-
      CONTROL RESERVOIRS                                 Sub-Master Docket No. 17-9002L



      THIS DOCUMENT APPLIES TO:

      ALL DOWNSTREAM CASES



                                               ORDER

        On March 1, 2018, the court convened a telephone status conference, wherein the parties
were directed to file, on or before April 12, 2018, a joint status report that includes: (1) a final list
of the test properties together with a short statement of why each was selected, the proponent, and
whether the property owner is an individual plaintiff or a member of a proposed class action; (2) a
proposed discovery plan for jurisdictional and liability issues; and (3) a list of individuals
tentatively identified for depositions.

       In addition, with the exception of Plaintiffs’ March 20, 20181 deadline to respond to the
Government’s February 20, 2018 Motion To Dismiss, the deadlines set forth in Case Management
Order No. 3 are suspended until April 13, 2018, at which time, the court will convene a status
conference at 10:00 a.m. to be held at the United States District Court for the Southern District of
Texas, 515 Rusk Street, Houston, Texas.

        IT IS SO ORDERED.

                                                        s/ Susan G. Braden
                                                        Susan G. Braden
                                                        Chief Judge




        1
         The court’s docket reflects that March 15, 2018 is the due date for Plaintiffs’ Response,
but the court hereby grants Plaintiffs leave to extend that deadline to 5:00 p.m. (EST) on March
20, 2018.
